          Case 5:18-cv-06216-LHK Document 101 Filed 10/02/19 Page 1 of 5



 1 Counsel listed on the signature page.

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 8                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
 9                                          SAN JOSE DIVISION
10
                                                        Case No. 18-cv-06216-LHK
11    VOIP-PAL.COM, INC.,
                                                        JOINT STIPULATION AND [PROPOSED]
12                               Plaintiff,             ORDER REQUESTING MODIFICATION
                                                        OF THE COURT’S CASE MANAGEMENT
13            v.                                        ORDER

14    APPLE INC.,

15                               Defendant.

16
      VOIP-PAL.COM, INC.,
17                                                      Case No. 18-cv-07020-LHK
                                 Plaintiff,
18
              v.
19
      AMAZON.COM, INC. AND AMAZON
20    TECHNOLOGIES, INC.
21                               Defendants.
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     JOINT STIPULATED REQUEST FOR ORDER TO MODIFY THE             Case Nos. 5:18-cv-06216-LHK, 5:18-cv-07020-LHK
     COURT’S CASE MANAGEMENT ORDER
           Case 5:18-cv-06216-LHK Document 101 Filed 10/02/19 Page 2 of 5



 1           Pursuant to Civil Local Rule 6-2, Plaintiff VoIP-Pal and Defendants Apple and Amazon hereby

 2 jointly submit this request to modify the Court’s May 22, 2019 Case Management Order (18-cv-06216,

 3 ECF No. 85; 18-cv-07020, ECF No. 65). The parties propose the modifications in view of the

 4 continuance of the claim construction hearing, which was originally scheduled on September 5, 2019;

 5 was first continued to September 19, 2019; and is now scheduled on October 24, 2019. (18-cv-06216,

 6 ECF Nos. 85, 100; 18-cv-07020, ECF Nos. 65, 78). The current fact discovery deadline remains

 7 December 6, 2019.

 8           The parties seek to modify the schedule to restore approximately the amount of time that the

 9 Court’s original schedule provided between the claim construction hearing and the close of fact

10 discovery. The parties believe that the modified schedule will allow the parties to more efficiently

11 conclude fact discovery—and potentially avoid burdening the Court with discovery disputes that may

12 become moot as a result of the Court’s claim construction order or the parties’ subsequent narrowing

13 of claims and prior art theories. Accordingly, the parties have agreed, subject to the Court’s

14 permission, to revise the current schedule as set forth below:

15
         Scheduled Event                     Current Date/Deadline       [Proposed] Modified
16                                                                       Date/Deadline

17       Claim Construction                  October 24, 2019 at 1:30    October 24, 2019 at 1:30 p.m.
         Hearing                             p.m.                        [No change]
18
         Further Case Management             November 6, 2019            November 6, 2019
19       Conference                                                      [No change]

20       Close of Fact Discovery             December 6, 2019            February 7, 2020

21       Opening Expert Reports              January 10, 2020            March 11, 2020

22       Rebuttal Expert Reports             February 7, 2020            April 9, 2020

23       Close of Expert Discovery           March 6, 2020               May 7, 2020

24       Last Day to File                    April 3, 2020               June 4, 2020
         Dispositive Motions and
25       Daubert Motions

26       Hearing on Dispositive              May 21, 2020 at 1:30 p.m.   At the Court’s convenience
         Motions and Daubert
27       Motions
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      JOINT STIPULATED REQUEST FOR ORDER TO MODIFY THE       1            Case Nos. 5:18-cv-06216-LHK, 5:18-cv-07020-LHK
      COURT’S CASE MANAGEMENT ORDER
          Case 5:18-cv-06216-LHK Document 101 Filed 10/02/19 Page 3 of 5



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 2 Dated: October 2, 2019

 3    MALEK MOSS PLLC                                       PERKINS COIE LLP

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     JOINT STIPULATED REQUEST FOR ORDER TO MODIFY THE   2         Case Nos. 5:18-cv-06216-LHK, 5:18-cv-07020-LHK
     COURT’S CASE MANAGEMENT ORDER
          Case 5:18-cv-06216-LHK Document 101 Filed 10/02/19 Page 4 of 5



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 2 PURSUANT TO STIPULATION, IT IS SO ORDERED

 3

 4 Date: ____________________                       _____________________________
                                                    Lucy H. Koh
 5                                                  United States District Judge
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     JOINT STIPULATED REQUEST FOR ORDER TO MODIFY THE       3          Case Nos. 5:18-cv-06216-LHK, 5:18-cv-07020-LHK
     COURT’S CASE MANAGEMENT ORDER
           Case 5:18-cv-06216-LHK Document 101 Filed 10/02/19 Page 5 of 5



                                    ATTESTATION OF E-FILED SIGNATURES
 1

 2 I, Kevin N. Malek, am the ECF User whose ID and password are being used to file this Joint

 3 Stipulation. In compliance with the rules of this Court, I hereby attest that all counsel whose signatures

 4 are affixed to this filing have concurred in this filing.

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                                                         /s/ Kevin N. Malek
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      JOINT STIPULATED REQUEST FOR ORDER TO MODIFY THE       4                Case Nos. 5:18-cv-06216-LHK, 5:18-cv-07020-LHK
      COURT’S CASE MANAGEMENT ORDER
